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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

IMMERSION CORPORATION                            §
          Plaintiff,                             §
                                                 §
v.                                               §      CASE NO. 2:17-cv-00572-JRG
                                                 §
SAMSUNG ELECTRONICS AMERICA,                     §
INC. et al                                       §
           Defendants.                           §

                            REPORT OF SECOND MEDIATION

       A second mediation was conducted by David Folsom on Thursday, March 21, 2019,

between Plaintiff, Immersion Corporation, and Defendants Samsung Electronics America, Inc.

and Samsung Electronics Co., Ltd. in the above-captioned case. The mediation session has been

suspended. The undersigned mediator will continue to work with the parties in an effort to settle.

       Signed this 3rd day of April 2019.


                                                     /s/ David Folsom
                                                     David Folsom
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a) on this 3rd day of April 2019. As such, this document was
served on all counsel who are deemed to have consented to electronic service. Local Rule CV-
5(a)(3)(A).

                                                     /s/ David Folsom
                                                     David Folsom
